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                                                                        May 14, 2018

VIA CM/ECF
Honorable Steven C. Mannion, U.S.M.J.
Martin Luther King Building & U.S. Courthouse
50 Walnut Street, Court Room MLK 2B
Newark, New Jersey 07101

       Re:     Strategic Delivery Solutions, LLC v. Stallion Express, LLC, et als.
               Civil Action No.: 18-8779

Dear Judge Mannion:

        The undersigned firm represents Strategic Delivery Solutions, LLC, Plaintiff in the above-
referenced civil action. In consultation with counsel for the Defendants in the above-referenced
matter, Benesch, Friedlander, Coplan & Aronoff LLP, the undersigned respectfully requests entry
of the enclosed Stipulation and Order Regarding Discovery and Related Relief, to govern the
Parties’ agreed-upon expedited exchange of documents in advance of the Initial Conference before
Your Honor on May 31, 2018, and as expressly permitted by Judge’s Arleo’s Temporary
Restraining Order dated May 8, 2018 (D.I. 16).

                                             Respectfully Submitted,

                                             /s/ Lauren M. Paxton
                                             LAUREN M. PAXTON

cc:    All counsel on record (Via CM/ECF)




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